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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

        Plaintiff,

 v.                                                      Case No. 11-20551-14

 WALEED YAGHMOUR,

        Defendant.
                                                /

      ORDER DENYING DEFENDANT’S MOTION TO AMEND BOND CONDITIONS

        Defendant Waleed Yaghmour again moves to amend and relax his bond

 conditions to allow him, among other things, to more freely travel and to attend group

 religious services. [Dkt # 565].   The government opposes the motion. No hearing on is

 requested by either party.

        On June 18, 2013, the court held a hearing on Defendant’s earlier motion to relax

 travel restrictions, and on the record carefully considered Defendant’s arguments, but

 rejected them. In support of the present motion, there are no additional reasons offered

 other than the asserted urgency and seasonal nature of the group religious services

 Defendant seeks to attend. Defendant does not explain, or even assert, that the

 existing travel restrictions prohibit him from observing religious obligations, but only that

 he would not be in a group setting in a location distant from his home. The court is not

 persuaded. For the reasons stated on the record during the June 18 hearing,
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          IT IS ORDERED that Defendant’s motion to amend bond conditions [Dkt. # 565]

 is DENIED.

                                                           s/Robert H. Cleland
                                                          ROBERT H. CLELAND
                                                          UNITED STATES DISTRICT JUDGE

 Dated: August 1, 2013

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, August 1, 2013, by electronic and/or ordinary mail.

                                                           s/Lisa Wagner
                                                          Case Manager and Deputy Clerk
                                                          (313) 234-5522




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